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                                                     PagePage
                                                          1 of 16
                                                               1 ofPageID:
                                                                    16 PageID:
                                                                           13 192




        EXHIBIT A
        MER-L-001146-20 06/26/2020 2:11:30 PM Pg 1 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                                          2 of 16
                                                               2 ofPageID:
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 COSTELLO & MAINS, LLC
 By: Drake P. Bearden, Jr., Esquire
 Attorney I.D. No. 039202009
 18000 Horizon Way, Suite 800
 Mount Laurel, NJ 08054
 (856) 727-9700
 Attorneys for Plaintiff

                                                     :
  ROBERT HARPER,                                     :   SUPERIOR COURT OF NEW JERSEY
                                                     :   MERCER COUNTY - LAW DIVISION
                           Plaintiff,                :
                                                     :   CIVIL ACTION
  vs.                                                :
                                                     :
  AMAZON.COM SERVICES, INC. and                      :   DOCKET NO:
  JOHN DOES 1-5 AND 6-10.                            :
                                                     :
                           Defendants.               :   COMPLAINT AND JURY DEMAND


          Plaintiff, Robert Harper, residing in the State of New Jersey, brings the following claims

 against Defendants:

                                         Preliminary Statement

          This matter is opened to the court pursuant to the New Jersey Wage Payment Law

 (“WPL”) and its prohibition against retaliating against an employee for engaging in protected

 conduct under that law.

                                         Identification of Parties

          1.     Plaintiff Robert Harper is, at all relevant times herein, a resident of the State of

 New Jersey and former employee of Defendant as an Amazon Flex Driver.

          2.     Defendant Amazon.com Services, Inc. (“Amazon”) was, at all relevant times

 herein, a corporation operating in the State of New Jersey with its service of process address at

 Princeton South Corporate Center, Suite 160, 100 Charles Ewing Boulevard, Ewing, New Jersey

 08628.



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       MER-L-001146-20 06/26/2020 2:11:30 PM Pg 2 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          3 of 16
                                                               3 ofPageID:
                                                                    16 PageID:
                                                                           15 194



        3.      Defendants John Does 1-5 and 6-10, currently unidentified, are individuals and/or

 entities who, on the basis of their direct acts or on the basis of respondeat superior, are

 answerable to the Plaintiff for the acts set forth herein.

                                        General Allegations

        4.      Plaintiff and similarly situated employees employed on or after the date three

 years immediately preceding the filing date of this Complaint as Amazon Flex Drivers have been

 willfully misclassified as “contractors” instead of as employees and denied minimum wage,

 denied overtime for hours worked in excess of 40 per week, have had tips unlawfully withheld

 and have been denied payment of agreed upon wages due for all hours worked.

        5.      Plaintiff worked as an Amazon Flex driver from April 26, 2019 through August

 13, 2019.

        6.      During the time Plaintiff worked as an Amazon driver, Plaintiff signed a contract

 that stated Plaintiff would receive a minimum of $18.00 per hour, and would receive 100% of

 customer tips Plaintiff received.

        7.      Amazon provides delivery service of consumer electronic goods to its customers

 on a nationwide basis, including in the State of New Jersey.

        8.      Amazon contracts directly with Amazon Flex drivers in the State of New Jersey

 to conduct these deliveries.

        9.      Although classified as independent contractors, Amazon Flex Drivers are actually

 employees within the meaning of the New Jersey Wage Payment Law and New Jersey Wage and

 Hour Law.

        10.     Amazon Flex Drivers receive unpaid training regarding how to interact with

 customers and how to handle issues they encounter while making deliveries.




                                                    2
       MER-L-001146-20 06/26/2020 2:11:30 PM Pg 3 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          4 of 16
                                                               4 ofPageID:
                                                                    16 PageID:
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        11.     Amazon Flex Drivers must follow Amazon’s instructions regarding where to

 make deliveries, orders, and which route to take.

        12.     Amazon Flex Drivers can be penalized or terminated for missing scheduled shifts.

        13.     Amazon Flex Drivers also must follow requirements and rules imposed on them

 by Amazon and are subject to termination, based on Amazon’s discretion.

        14.     Amazon Flex Drivers can be disciplined or terminated for their failure to adhere

 to Amazon’s requirements including, but not limited to, rules regarding their conduct with

 customers, their timeliness in making deliveries, their scanning of packages, and their conduct

 when picking up or returning packages to the warehouse.

        15.     Amazon Flex Drivers provide their own vehicle, but are required to place an

 Amazon sign on the vehicle.

        16.     Amazon Flex Drivers’ services are fully integrated with Amazon’s businesses.

        17.     Amazon Flex Drivers are told they will be paid by the hour; however, the

 Amazon Flex Drivers are actually paid by the “block”.

        18.     Amazon Flex Drivers are given a predetermined amount of packages, determined

 by Amazon, and those packages are supposed to be delivered within a two hour block of time.

        19.     Whether the drivers deliver the packages before the two hour block of time, or

 after the two hour block, the drivers are paid the same amount of money.

        20.     During the time Plaintiff worked for Amazon, Plaintiff would arrive at the

 warehouse to pick up his packages and the packages would not be ready.

        21.     On other occasions, Plaintiff would arrive at the warehouse to pick up his

 packages and there would be a malfunction with scanning and electronic equipment, and Plaintiff

 would have to wait for his packages.




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       MER-L-001146-20 06/26/2020 2:11:30 PM Pg 4 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                                08/07/20
                                                     PagePage
                                                          5 of 16
                                                               5 ofPageID:
                                                                    16 PageID:
                                                                           17 196



         22.     On other occasions, Plaintiff would arrive at Amazon to pick up his packages, and

 Amazon employees would not be able to open the doors or access his packages because certain

 employees arrived late.

         23.     These acts, along with other incidences that were not the fault of the Plaintiff,

 often caused Plaintiff to have to begin his “block” late.

         24.     Plaintiff would then take longer than the two hour block of time to deliver the

 packages.

         25.     When Plaintiff would take longer than the two hour block of time to deliver the

 package, Plaintiff would submit a request to Amazon for additional compensation as a result of

 the additional work that he did.

         26.     However, on numerous occasions, Amazon either failed to compensate Plaintiff

 the amount that he was due, or failed to compensate Plaintiff at all for the additional hours he

 worked.

         27.     Plaintiff was also told by customers on multiple occasions that they tipped

 Plaintiff electronically.

         28.     However, Plaintiff was not given the tips by Amazon.

         29.     Plaintiff complained to Amazon about all of the problems listed in this complaint.

         30.     Those complaints included, but were not limited to, on June 8, 2019, Plaintiff

 complained that his additional time request had been denied and he was therefore earning less

 than $18.00 per hour.

         31.     On August 12, 2019, Plaintiff complained again that his compensation was short

 and he had not been refunded for tolls per Defendant’s agreement with drivers.




                                                   4
       MER-L-001146-20 06/26/2020 2:11:30 PM Pg 5 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
                            Document
                                 1-1 7-5
                                     FiledFiled
                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          6 of 16
                                                               6 ofPageID:
                                                                    16 PageID:
                                                                           18 197



          32.    Around the same time, Plaintiff complained by email that he was not receiving

 tips in his compensation.

          33.    Plaintiff and other Amazon Flex Drivers were also not compensated for necessary

 business expenses that they must pay such as gas and car maintenance.

          34.   Defendant terminated Plaintiff on August 14, 2019, approximately two days after

 Plaintiff’s last complaint as a result of his complaints about Defendant’s failure to properly

 compensate Plaintiff.

          35.   At the time Defendant terminated Plaintiff, Plaintiff was capable of performing all

 of the essential functions of his job.

          36.   Plaintiff engaged in protected activity pursuant to the WPL, when he complained

 about Defendant’s conduct outlined above, which he reasonably believed violated the WPL.

          37.   Subsequent to Plaintiff engaging in this activity, Plaintiff was subjected to adverse

 employment actions including, but not limited to, Defendant terminating his employment.

          38.   A determinative and/or motivating factor in the adverse employment actions taken

 against Plaintiff was the fact that he engaged in the protected conducted outlined above.

          39.   Defendant’s adverse employment actions were intentional, purposeful, willful,

 and egregious retaliation and performed by members of upper management making punitive

 damages warranted.

          40.   The fact that Plaintiff was directly retaliated against as a result of having engaged

 in protected conduct under WPL entitles her to compensatory damages under WPL as described

 below.




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       MER-L-001146-20 06/26/2020 2:11:30 PM Pg 6 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                                08/07/20
                                                     PagePage
                                                          7 of 16
                                                               7 ofPageID:
                                                                    16 PageID:
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                                                COUNT I

                       Violation of the Wage Payment Law for Retaliation

        41.      Plaintiff hereby repeats and realleges paragraphs 1 through 40, as though fully set

 forth herein.

        42.      Plaintiff engaged in protected conduct under the WPL when he made complaints

 that Defendant complained in conduct that violated the WPL as outlined at length above.

        43.      Subsequent to Plaintiff engaging in protected conduct, Defendant subjected

 Plaintiff to adverse employment actions because of that conduct include, but not limited to,

 terminating Plaintiff from him employmen.t

        WHEREFORE, Plaintiff demands judgment against the Defendants jointly, severally and

 in the alternative, together with compensatory damages, including emotional distress and

 personal hardship, interest, cost of suit, attorneys’ fees, enhanced attorneys’ fees, equitable back

 pay, equitable front pay, liquidated “treble” damages as allowed under the WPL, equitable

 reinstatement, equitable instatement or promotion and any other relief the Court deems equitable

 and just.

                                               COUNT II

                                    Request for Equitable Relief
        44.      Plaintiff hereby repeats and realleges paragraphs 1 through 43 as though fully set

 forth herein.


        45.      Plaintiff requests the following equitable remedies and relief in this matter.


        46.      Plaintiff requests a declaration by this Court that the practices contested herein

 violate New Jersey law as set forth herein.




                                                   6
       MER-L-001146-20 06/26/2020 2:11:30 PM Pg 7 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                                08/07/20
                                                     PagePage
                                                          8 of 16
                                                               8 ofPageID:
                                                                    16 PageID:
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        47.     Plaintiff requests that this Court order the defendants to cease and desist all

 conduct inconsistent with the claims made herein going forward, both as to the specific plaintiff

 and as to all other individuals similarly situated.


        48.     To the extent that plaintiff was separated from employment and to the extent that

 the separation is contested herein, plaintiff requests equitable reinstatement, with equitable back

 pay and front pay.


        49.     Plaintiff requests, that in the event that equitable reinstatement and/or equitable

 back pay and equitable front pay is ordered to the plaintiff, that all lost wages, benefits, fringe

 benefits and other remuneration is also equitably restored to the plaintiff.


        50.     Plaintiff requests that the Court equitably order the defendants to pay costs and

 attorneys’ fees along with statutory and required enhancements to said attorneys’ fees.


        51.     Plaintiff requests that the Court order the defendants to alter their files so as to

 expunge any reference to which the Court finds violates the statutes implicated herein.


        52.     Plaintiff requests that the Court do such other equity as is reasonable, appropriate

 and just.


        WHEREFORE, plaintiff demands judgment against the defendants jointly, severally and

 in the alternative, together with compensatory damages, punitive damages, interest, cost of suit,

 attorneys’ fees, enhanced attorneys’ fees, equitable back pay, equitable front pay, equitable

 reinstatement, and any other relief the Court deems equitable and just.

                                                COSTELLO & MAINS, LLC

                                                By: /s/ Drake P. Bearden, Jr._______________
 Dated: June 26, 2020                                   Drake P. Bearden, Jr.


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        MER-L-001146-20 06/26/2020 2:11:30 PM Pg 8 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          9 of 16
                                                               9 ofPageID:
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                             DEMAND TO PRESERVE EVIDENCE

         1.     All Defendants are hereby directed and demanded to preserve all physical and

 electronic information pertaining in any way to Plaintiff’s employment, to Plaintiff’s cause of

 action and/or prayers for relief, to any defenses to same, and pertaining to any party, including,

 but not limited to, electronic data storage, closed circuit TV footages, digital images, computer

 images, cache memory, searchable data, emails, spread sheets, employment files, memos, text

 messages and any and all online social or work related websites, entries on social networking

 sites (including, but not limited to, Facebook, twitter, MySpace, etc.), and any other information

 and/or data and/or things and/or documents which may be relevant to any claim or defense in this

 litigation.

         2.     Failure to do so will result in separate claims for spoliation of evidence and/or for

 appropriate adverse inferences.

                                               COSTELLO & MAINS, LLC


                                               By: /s/ Drake P. Bearden, Jr._______________
                                                       Drake P. Bearden, Jr.

                                         JURY DEMAND

         Plaintiff hereby demands a trial by jury.

                                               COSTELLO & MAINS, LLC



                                               By: /s/ Drake P. Bearden, Jr._______________
                                                       Drake P. Bearden, Jr.




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        MER-L-001146-20 06/26/2020 2:11:30 PM Pg 9 of 9 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                                08/07/20
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                                                          10 of10
                                                                16ofPageID:
                                                                     16 PageID:
                                                                            22 201



                                  RULE 4:5-1 CERTIFICATION

         1.      I am licensed to practice law in New Jersey and am responsible for the captioned

                 matter.

         2.      The matter of Robert Harper v. Amazon.com Services, Inc., 3:19-cv-21735, is a

                 class action lawsuit currently in the United States District Court for the District of

                 New Jersey, that may involve similar facts as this case.

         3.      I am aware of no other matter currently filed or pending in any court in any

                 jurisdiction which may affect the parties or matters described herein.

                                                COSTELLO & MAINS, LLC



                                                By: /s/ Drake P. Bearden, Jr._______________
                                                        Drake P. Bearden, Jr.


                              DESIGNATION OF TRIAL COUNSEL

         Drake P. Bearden, Jr., Esquire, of the law firm of Costello & Mains, LLC, is hereby-

  designated trial counsel.

                                                COSTELLO & MAINS, LLC



                                                By: /s/ Drake P. Bearden, Jr._______________
                                                        Drake P. Bearden, Jr.




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Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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 COSTELLO & MAINS, LLC
 By: Drake P. Bearden, Jr.
 Attorney I.D. No. 039202009
 18000 Horizon Way, Suite 800
 Mount Laurel, NJ 08054
 (856) 727-9700
 Attorneys for Plaintiff


                                 :
   ROBERT HARPER                 : SUPERIOR COURT OF NEW JERSEY
                                 :
                                 : MERCER COUNTY - LAW DIVISION
                  Plaintiff(s),  :
                                 :      CIVIL ACTION
   vs.                           :
                                 ~ DOCKET NO: MER-L-1146-20
   AMAZON.COM SERVICES, INC. and ;
   JOHN DOES 1-5 AND 6-10.       ~
                                 ~ SUMMONS
                  Defendant(s).  ;



  From The State of New Jersey to the Defendant Named Above:

         The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
 Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
 this complaint, you or your attorney must file a written answer or motion and proof of service
 with the deputy clerk of the Superior Court in the county listed above within 35 days from the
 date you received this summons, not counting the date you received it. (A directory of the
 addresses of each deputy clerk of the Superior Court is available in the Civil Division
 Management Office in the county listed above and online at http://www.judiciary.state.nj.us/pro
 se/10153 deptyclerklawref.pdf) If the complaint is one in foreclosure, then you must file your
 written answer or motion and proof of service with the Clerk of the Superior Court, Hughes
 Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer,
 State of New Jersey and a completed Case Information Statement (available from the deputy
 clerk of the Superior Court) must accompany your answer or motion when it is filed. You must
 also send a copy of your answer or motion to plaintiffs' attorney whose name and address appear
 above, or to plaintiff, if no attorney is named above. A telephone call will not protect your rights;
 you must file and serve a written answer or motion (with fee of $175.00 and completed Case
 Information Statement) if you want the court to hear your defense.
     If you do not file and serve a written answer or motion within 35 days, the court may enter a
 judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment
 is entered against you, the Sheriff may seize your inoney, wages or property to pay all or part of
 the judgment.
     If you cannot afford an attorney, you may call the Legal Services office in the county where
 you live or the Legal Sei-vices of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-
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     Case 3:20-cv-09771 Document
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                                                08/07/20
                                                     PagePage
                                                          12 of12
                                                                16ofPageID:
                                                                     16 PageID:
                                                                            24 203




 576-5529). If you do not have an attorney and are not eligible for fiee legal assistance, you may
 obtain a referral to an attorney by calling one of the Lawyer Referral Services. A directory with
 contact information for local Legal Sei-vices Offices and Lawyer Referral Services is available in
 the Civil Division Management Office in the county listed above and online at
 http://www.judiciaiy.state.nj.us/prose/10153 deptyclerklawref.pdf


                                                             /s/ Michelle M. Smith
                                                             Clerk of the Superior Court
 DATED: July 1, 2020

 Name of Defendant to be Served:              Amazon.com Services, Iiic.

 Address of Defendant to be Served:           Princeton South Corporate Center, Suite 160
                                              100 Charles Ewing Boulevard
                                              Ewing, NJ 08628
Case 3:20-cv-09771-FLW-ZNQ
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                                 1-1 7-5
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                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          13 of13
                                                                16ofPageID:
                                                                     16 PageID:
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 ATLANTIC COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (609) 345-3444
 Civil Division, Direct Filing             LEGAL SERVICES
 1201 Bacharach Blvd., First Fl.           (609) 348-4200
 Atlantic City, NJ 08401

 BERGEN COUNTY:                            LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (201) 488-0044
 Civil Division, Room 115                  LEGAL SERVICES
 Justice Center, 10 Main St.               (201) 487-2166
 Hackensack, NJ 07601

 BURLINGTON COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Supei-ior Court       (609) 261-4862
 Central Processing Office                 LEGAL SERVICES
 Attn: Judicial Intake                     (800) 496-4570
 First Fl., Courts Facility
 49 Rancocas Road
 Mt. Holly, NJ 08060

 CAMDEN COUNTY:                            LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (856) 964-4520
 Civil Processing Office                   LEGAL SERVICES
 Hall of Jtistice                          (856) 964-2010
 ls' Fl., Suite 150
 101 South 51 h Street
 Camden, NJ 08103

 CAPE MAY COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (609) 463-0313
 9 N. Main Street                          LEGAL SERVICES
 Cape May Courthouse, NJ 08210             (609) 465-3001

 CUMBERLAND COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (856) 692-6207
 Civil Case Management Office              LEGAL SERVICES
 Broad & Fayette Streets                   (856) 451-0003
 P.O. Box 10
 Bridgeton, NJ 08302

 ESSEX COUNTY:                             LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (973) 622-6204
 Civil Customer Service                    LEGAL SERVICES
 Hall of Records, Room 201                 (973) 624-4500
 465 Dr. Martin Luther Kin; Jr. Blvd.
 Newark, NJ 07102

 GLOUCESTER COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (856) 848-4589
 Civil Case Management Office              LEGAL SERVICES
 Attn: Intake                              (856) 848-5360
 First Fl. Court House
 Woodbury, NJ 08096

 HUDSON COUNTY:                            LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (201) 798-2727
 Superior Court, Civil Records Dept.       LEGAL SERVICES
 Brennan Court House— ls' Floor            (201) 792-6363
 583 Newark Avenue
 Jersey City, NJ 07306
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
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                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          14 of14
                                                                16ofPageID:
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 HUNTERDON COUNTY:                         LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (908) 735-2611
 Civil Division                            LEGAL SERVICES
 65 Park Avenue                            (908) 782-7979
 Flemington, NJ 08822

 MERCER COUNTY:                            LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (609) 585-6200
 Local Filing Office, Coui-thouse          LEGAL SERVICES
 175 S. Broad Street, P.O. Box 8068        (609) 695-6249
 Trenton, NJ 08650

 MIDDLESEX COUNTY:                         LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (732) 828-0053
 Middlesex Vicinage                        LEGAL SERVICES
 2"d Floor— Tower                          (732) 866-0020
 56 Paterson Street
 New Brunswick, NJ 08903

 MONMOUTH COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (732) 431-5544
 Court House                               LEGAL SERVICES
 71 Monument Park                          (732) 866-0020
 P.O. Box 1269
 Freehold, NJ 07728

 MORRIS COUNTY:                            LAWYER REFERRAL
 Deputy Clerk of the Supei7or Court        (973) 267-5882
 Civil Division                            LEGAL SERVICES
 Washington and Court Streets              (973) 285-6911
 P.O. Box 910
 Morristown, NJ 07963

 OCEAN COUNTY:                             LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (732) 240-3666
 Court House, Room 119                     LEGAL SERVICES
 118 Washington Street                     (732) 341-2727
 Toms River, NJ 08754

 PASSAIC COUNTY:                           LAWYER REFERRAL
 Deputy Clerk of the Supei-ior Court       (973) 278-9223
 Civil Division                            LEGAL SERVICES
 Court House                               (973) 523-2900
 77 Hamilton Street
 Paterson, NJ 07505

 SALEM COUNTY:                             LAWYER REFERRAL
 Deputy Clerk ofthe Superior Court         (856) 678-8363
 92 Market Street                          LEGAL SERVICES
 P.O. Box 29                               (856) 451-0003
 Salem, NJ 08079

 SOMERSET COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Supeiior Court        (908) 685-2323
 Civil Division                            LEGAL SERVICES
 P.O. Box 3000                             (908)231-0840
 40 North Bridge Street
 Somerville, NJ 08876

 SUSSEX COUNTY:                            LAWYER REFERRAL
 Deputy Clerk of the Superior Court        (973) 267-5882
 Sussex County Judicial Center             LEGAL SERVICES
 43-47 High Street                         (973) 383-7400
 Newton, NJ 07860
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
                            Document
                                 1-1 7-5
                                     FiledFiled
                                          07/31/20
                                                08/07/20
                                                     PagePage
                                                          15 of15
                                                                16ofPageID:
                                                                     16 PageID:
                                                                            27 206




 UNION COUNTY:                              LAWYER REFERRAL
 Deputy Clerk of the Superior Court         (908)353-4715
 1" Fl., Court House                        LEGAL SERVICES
 2 Broad Street                             (908)354-4340
 Elizabeth, NJ 07207

 WARREN COUNTY:                             LAWYER REFERRAL
 Deputy Clerk of the Superior Court         (973)267-5882
 Civil Division Office                      LEGAL SERVICES
 Court House                                (973)475-2010
 413 Second Street
 Belvedere, NJ 07823
          MER-L-001146-20 06/26/2020 2:11:30 PM Pg 1 of 1 Trans ID: LCV20201127371
Case 3:20-cv-09771-FLW-ZNQ
     Case 3:20-cv-09771 Document
                            Document
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                                                08/07/20
                                                     PagePage
                                                          16 of16
                                                                16ofPageID:
                                                                     16 PageID:
                                                                            28 207




                         Civil Case Information Statement
  Case Details: MERCER | Civil Part Docket# L-001146-20

 Case Caption: HARPER ROBERT VS AMAZON.COM                        Case Type: EMPLOYMENT (OTHER THAN CEPA OR LAD)
 SERVICES, INC.                                                   Document Type: Complaint with Jury Demand
 Case Initiation Date: 06/26/2020                                 Jury Demand: YES - 6 JURORS
 Attorney Name: DRAKE P BEARDEN JR                                Is this a professional malpractice case? NO
 Firm Name: COSTELLO & MAINS, LLC                                 Related cases pending: NO
 Address: 18000 HORIZON WAY STE 800                               If yes, list docket numbers:
 MT LAUREL NJ 080544319                                           Do you anticipate adding any parties (arising out of same
 Phone: 8567279700                                                transaction or occurrence)? NO
 Name of Party: PLAINTIFF : HARPER, ROBERT
 Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: ROBERT HARPER? NO

 (if known): Unknown



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? YES
  If yes, is that relationship: Employer/Employee
  Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  06/26/2020                                                                                     /s/ DRAKE P BEARDEN JR
  Dated                                                                                                           Signed
